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                   UNITED STATES DISTRICT COURT     JAMES N . HATE N, CteA
              FOR THE NORTHERN DISTRICT OF GEORGIA, By.
                         ATLANTA DIVISION



CAMBRIDGE UNIVERSITY PRESS,
OXFORD UNIVERSITY PRESS, INC .,                                                              ~~
and SAGE PUBLICATIONS, INC .,                     1 08-(;V-i~4 2~
                                                 Civil Action No .
                            Plaintiffs,

             -vs .-

CARL V . PATTON, in his official
capacity as Georgia State University
President, RON HENRY, in his official
capacity as Georgia State University
Provost, CHARLENE HURT, in her
official capacity as Georgia State
University Dean of Libraries, and J.L.
ALBERT, in his official capacity as
Georgia State University Associate
Provost for Information Systems and
Technology,

                            Defendants .



             COMPLAINT FOR DECLAR ATORY JUDG M ENT
                     AND I NJUNCTIVE RELIEF


             Plaintiffs Cambridge University Press, Oxford University Press, Inc .,

and SAGE Publications, Inc . (collectively, "Plaintiffs"), by and through their




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attorneys, Well, Gotshal & IAanges LLP, and Bondurant, Mixson, & Elmore, LLP,

for their complaint, allege, on information and belief, the following against

defendants Carl V . Patton, in his official capacity as Georgia State University

President, Ron Henry, in his official capacity as Georgia State University ProVost,

Charlene Hurt, in her official capacity as Georgia State University Dean of

Libraries, and J .L. Albert, in his official capacity as Georgia State University

Associate Provost for Information Systems and Technology (collectively, "Georgia

State," "the University," or "Defendants") :

                            NATURE OF THIS ACTIO N

                1 . This action for declaratory and injunctive relief arises from

  Georgia State's systematic, widespread, and unauthorized copying and

  distribution of a vast amount of copyrighted works, including those owned or

  controlled by Plaintiffs, through a variety of online systems and outlets utilized

  and hosted by the University for the digital distribution of course reading

  material. Georgia State has facilitated, enabled, encouraged, and induced

  Georgia State professors to upload and post to these systems - and Georg ia State

  students simultaneously to download, view, print, copy, and distribute - many, if

  not all, of the assigned readings for a particular course without liniitatioii .




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without oversight, and without the requisite authorization and appropriate

compensation to the copyright owners of such materials .

             2 . The unauthorized digital distribution of copyrighted course

readings at Georgia State is pervasive, flagrant, and ongoing . It has continued

unabated in the face of notice and repeated attempts by Plaintiffs to reach an

amicable and mutually acceptable solution without the need for litigation . All

such efforts have been flatly rebuffed by Georgia State, which continues to offer

digitized course offerings through the Georgia State Library electronic course

reserves service, through Georgia State's Blackboard/ti'VebCT Vista electronic

course management system, and through Georgia State departmental web pages

and hyperlinked online syllabi available on websites and computer servers

controlled by Georgia State. By digitally distributing course reading materials -

often in compilations of digital excerpts containing an entire semester's worth of

reading -Georgia State provides its students (and until recently, the general

public) the ability to view, download, and print without authorization a number

and range of copyrighted works that vastly exceeds the amount and type of

copying that might credibly be justified as fair use in an educational setting .

             3 . With the University's encouragement, hundreds of professors

employed by Georgia State have compiled thousands of copyrighted works,



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made them available for electronic distribution, and invited students to

download, view, and print such materials without permission from the copyright

owners. As of February 19, 2008, the Georgia State Library's electronic course

reserves system listed over 6700 total works available for some 600-plus

courses . Upon information and belieff much (and likely most) of this extensive

copying and distribution has been performed without authorization of the

hundreds of publishers whose materials are present on the system (and certainly

without the permission of Plaintiffs in this action), and thus without payment of

the customary licensing fees due to copyright holders under well-established

judicial authority.

              4. Georgia Sta te's ongoing unauthorized digital distribution of

Plaintiffs' copyrighted materials is directly substituting both for student

purchases of copyrighted books and for paper "coursepacks" or "copy packs" -

collections of course-related readings assigned by professors and purchased by

students, the copying of which occurs pursuant to licenses obtained by

bookstores and copy shops according to long-settled copyright law (including

Basic Books, Inc. v. Kinko's Graphics Corp ., 75 8 F. Supp . 1522 (S .D .N.Y .

1991), and Princeton Univ. Press v . Michigan Document Servs . I»c _. 99 F 3d

1381 (6th Cir . 1996)) . Many Georgia State students are now able to obtain, with



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the encouragement of their professors and the University at large, unlicensed

digital compilations containing many of the required readings for a given course

without setting foot in a bookstore or expending a single cent on the Copyrighted

materials that lie at the heart of the educational experience . Those students could

easily obtain the same copyrighted materials for use in their courses, either

through purchase of the original works or by the University's utilization of

existing permissions and licensing systems designed to fairly and efficiently

compensate copyright owners for licensed excerpts of their works .

             5 . Unless Georgia State's infringing digital distribution practices

are enjoined, Plaintiffs, authors, and the publishing community at large will

continue to face a certain, substantial, and continuing threat of loss of revenue,

which will in turn threaten Plaintiffs' incentive to continue supporting and

publishing the cutting-edge scholarship upon which the academic enterprise

depends . Requiring the payment of permission fees in the context of the

practices described will not jeopardize legitimate exercises of fair use, which

Plaintiffs acknowledge and respect, or prevent Georgia State or its students from

accessing or benefiting from publishers' works ; to the contrary, it %-vill in fact

ensure that those works continue to be produced and available to current and

future generations of students



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                       JURISDICTION AND VENUE

             6. This is a civil action seeking injunctive relief for copyright

infringement under the Copyright Act (17 U .S.C . § § 101 et sea•), as well as

declaratory relief pursuant to 28 U.S.C. S § 2201, 2202 .

             7. This Court has jurisdiction of this action pursuant to 1 7 U.S.C .

§S 101 et seq ., 28 U .S.C. §§ 1331, 1338(a), and 2201 .

             8 . This Court has personal jurisdiction over Defendants, all of

whom reside in the State of Georgia and in this District. In addition,

Defendants' conduct, which constitutes copyright infringement, occurred in this

District and has caused harm in this District

             9 . Venue is proper in this District pursuant to 28 U .S.C .

 5 1391(b)-(c) and 1400(a) .

                                   PARTIES

             10 . Plaintiff Cambridge University Press is the not-for-profit

Printing and Publishing House of the University of Cambridge, and was

chartered by New York State in 1949 . The University of Cambridge is an

English conunon law corporation confirmed by an Act of Parliament passed in

1571 .




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             11 . Plaintiff Oxford University Press, Inc . is a not-for-profit

corporation duly organized and existing under the laws of Delaware, with its

principal place of business in New York, New York . Oxford University Press

has maintained an office in New York since 1896 .

             12. Plaintiff SAGE Publications is a corporation duly organized

and existing under the laws of Delaware, with its principal place of business in

Thousand Oaks, California . Its subsidiary publishing divisions and imprints

include Corwin Press and SAGE Publications Ltd.

             13 . Defendant Carl V . Patton ("Patton") is the president of Georgia

State University, a public, not-for-profit corporation with its main campus in

Atlanta, Georgia . Under the statutes of the University, Patton is the chief

adnUnistrative officer, with responsibility for providing general super~•isioil for

all affairs of the University . Patton is also a member and the chairperson and

presiding officer of every faculty and academic unit of the University . Upon

information and belief, Patton has ultimate responsibility for the academic and

technical departments of the University involved in the provision of electronic

course materials to Georgia State students through the Library website, the

Blackboard course management system, and elsewhere - and the ability to direct
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and demand their compliance with federal copyright law and to halt activities

that do not so comply.

              14. Defendant Ron Henry ("Henry") is the Provost of Georgia

State University, the second officer of the University . In his role as Provost,

Henry's responsibilities include ensuring conduct consistent with the

professional and legal fulfillment of the University's purposes and objectives,

faculty oversight, monitoring the performance of the University's library system,

and direct supervision of the Dean of Libraries and the Associate Provost for

Information Systems and Technology - i .e., the academic and technical

departments of the university involved in the provision of electronic course

materials to Georgia State students through the Library website, the Blackboard

and WebCT course management systems, and elsewhere .

              15 . Defendant Charlene Hurt (``Hurt") is the Dean of Libraries for

Georgia State University . Upon information and belief, Hurt has direct

responsibility for and oversight of all library employees and all activities of the

University library system, including its «~ebsite, its electronic/digital offerings,

course reserves, and the operation of and policies guiding its electronic course

reserve system.




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             16 . Defendant J .L. Albert ("Albert") is the Associate Provost for

Information Systems and Technology and Chief Information Officer . Upon

information and belief, Albert is responsible for information systems and

computer technology and infrastructure across the University, including all

electronic services provided to University faculty and students such as tile

Blackboard,AVebCT course management system . Albert also supervises the

Director of Library Services Support, who provides technical support for the

University's electronic course reserves (ERes) system

      ALLEGATIONS COMMON TO ALL CLAI MS FOR RELIEF

             Plaintiffs and Their Infringed Copvriihted Works

             17 . Plaintiffs are leading publishers of books, articles, journals,

periodicals, and other copyrighted materials which are sold and /or licensed

through various permissions and licensing programs to students enrolled in

colleges and universities throughout the United States, including Georgia State .

Plaintiffs invest significant resources developing and publishing these materials

and rely on copyright protection to earn a return on their investment from the

sale and licensing of such works (including in connection with coursepacks) .

This revenue is also vitally important to the authors of such works, and serves as

a spur to, and reward for, creative expression .



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              18 . Sales and licensing revenue also is critical to the publishers'

ability to continue developing and publishing works for the academic

community; indeed, Plaintiffs alone have published books and journal articles by

well over 100 Georgia State professors . Such professors look to publishers to

help fund the research and publishing that is so integral to their academic

careers .

              19. Each of the works as to which infringement is specifically

alleged in Exhibit 1 hereto and in paragraphs 22 through 27 below is an original

work of authorship protected by copyright, and exclusive rights under these

copyrights (including the rights infringed by Defendants) are owned by, or

exclusively licensed to, Plaintiffs . Each such work is registered with the United

States Copyright Office, has its application for registration pending, or is

protected under U .S . copyright law as a work first published in a country that is a

signatory to the Berne Convention .

      Georgi a State's Digi tal Distribution of Course Readinz Materials

             20. On information and belief, over numerous academic terlns ;

hundreds of faculty employed by Georgia State have afforded their students

access to copies of thousands of articles, book chapters and other copyrighted

works through Georgia State's electronic course reserves listings . Each of these



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copied works is available to students for downloading, viewing, and printiub .

Many such works remain on the library's system and are offered to students

semester after semester.

              21 . A search of the Georgia State Library system conducted by

Plaintiffs during the spring 2008 semester revealed over 6700 total works

available. Although some of these listings identify traditional hard-copy reserve

materials, the vast majority provide direct access to electronic excerpts .

Plaintiffs believe that the volume of digital distribution at Georgia State

si ;nificantly exceeds the amount of material that Plaintiffs have been able to

review to date .

              22 . Many Georgia State courses utilizing Georgia State's digital

distribution capabilities provide students with copies of copyrighted works (each

available for downloading, viewing and printing) owned or controlled by

Plaintiffs in this action, but as to which no permission for such activities has

been obtained . In many cases, the distributed excerpts constitute the very heart

of the work at issue . And in many instances, these excerpts are compiled

to-ether with numerous other readin~.,s to create for students a "digital

coursepack" not unlike the collections and anthologies offered for sale by the

Plaintiffs themselves or the lard-copy coursepacks students once would have



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purchased at the campus bookstore or copy center. For example, students in the

Springy 2007 terns of Professor Belcher's course "Qualitative Research"

(AL8961) received, along with more than 20 other digital excerpts from other

works, five unlicensed digital excerpts from the second edition of the Handbook

of Qualitative Research, edited by Norman Denzin and Yvonna S . Lincoln and

published by Plaintiff SAGE Publications . The SAGE Handbook excerpts

included "Paradigmatic Controversies, Contradictions, and Emerging

Confluences" (Ch . 6) by Yvonna S. Lincoln & Egos G . Guba, "Case Studies"

(Ch. 16) by Robert Stake, "Ethnography and Ethnographic Representation" (Ch.

17) by Barbara Tedlock, "Grounded Theory : Objectivist and Constructivist

Methods" (Ch . 19) by Kathy Cllannlaz, and "The Interview : From Structured

Questions to Negotiated Text" (Ch. 24) by Andrea Fontana & James H . Frey -

over 130 pages in total - all distributed without permission from or

compensation to SAGE or the editors and authors .

             23 . Students in Professor Kaufinan's fall 2007 course

"Qualitative/Interpretive Research in Education I" (EPS8500) were provided,

without SAGE's permission, with a digital compilation of six chapters from the

third edition of The SAGE Handbook of Qualitative Research : Russell Bishop's

"Freeing Ourselves from Neocolonial Domination in Research" (Ch . 5), "Critical



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Humanism and Queer Theory : Living With the Tensions" (Ch. 14), by Kenneth

Plummer, "Qua l itative Case Studies" (Ch . 17), by Robert Stake, " T e 5 t 1111U1110 ,

Subalternity, and Narrative Authority" (Ch . 22) , by John Beverley, "Narrative

Inquiry" (Ch . 2 5), by Susan Chase, and "Relativism, Criteria, and Politics" (Ch .

36), by John Smith & Phil Hodkinson . For the spring 2008 version of the course

(EPRS8510), Professor Kaufman is once again providing students with the same

six chapters, as well as a seventh, Laurel Richardson & Elizabeth Adams St .

Pierre's "Writing : A Method of Inquiry" (Cll. 38), for a total of 1 5 2 pages .

              24 . As another example of a Georgia State professor providing

students with the same, unlicensed, excerpts semester after semester, students in

Professor Emshoffls Fall 2006 course "Introduction to Community Psychology"

(PSYC8200) were given digital copies of two chapters from Milan J . Dluhy's

Changing the System: Political Advocacy for Disadvanta ged Groups, also

published by SAGE . Despite SAGE's specific complaint to Georgia State about

this work, Professor Emshoff provided the same excerpt to students in

PSYC8200 during the fall 2007 semester . These and other representative

samples of SAGE Publications works that have been distributed digitally to

students at Georgia State without permission - including three chapters (»




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pages) of Liesbet van Zoonen's Feminist Media Studies - are identified in

Exhibit 1 .

              25 . The works of university presses also are being made available

by Georgia State professors in digital format without permission or

compensation. By way of example, students in the Fall 2006 semester of

Professor Reimann's course "The Political Economy of Japan" (POLS4256)

were able to download, view, and print digital copies of a 33-page excerpt from

Ethan Schemer's book Democracy without Competition in Japan, a book

published by Plaintiff Cambridge University Press . Students in the Fall 2006

semester of Professor Orr's course "Baroque Music" were given digital copies of

32 pages from The Cambridge Companion to t h e Orgai , includina the full text

of two chapters by Patrick Russill and Geoffrey Webber . Croydon Beek's essay

"Handel's Sacred Music," which appears in Plaintiff Cambridge's anthology

Cambridge Companion to Handel , w as also compiled along with these materials

and made available to Professor Orr-s class in digital form without the requisite

license .

              26. Even after Cambridge complained to Georgia State about its

failure to properly license digital course material, professors have continued to

offer Cambridge works without permission . The above-mentioned excerpt from



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Professor Schemer's book was once again offered to students in the fall 2007

semester by Professor Reimann in POLS4255 . In that same semester, Professor

Bunking compiled three separate chapters totaling 60 pages from a Cambridge

collection entitled Materials Development in Language Teaching as part of an

unlicensed anthology of readings offered to students in " .Material Design,

Development, and Publication" (AL8fi64) . Meanwhile, students in

"Comparative Political Analysis" (POLS8200) received two full chapters -

totaling over 100 pales - of Theda Skocpol's States and Social Revolutions,

while students in four different sections of the Applied Linguistics Practicum

(AL8900) received two full chapters of Focus on the Language Classroom by

Richard Allwri~ht and Kathleen Bailey . More recently, in the springy 2008

semester, Professor Lazurus (who himself has published two recent articles in

journals sponsored by Plaintiff SAGE Publications) provided students in

POLS8170 with 76 pages - chapters 5, 7, and 8 - of Legislative Leviathan by

Gary Cox and Mathew McCubbins. Representative samples of Cambridge

works that have been distributed digitally to students at Georgia State without

permission are identified in Exhibit 1 .

             27. Plaintiff Oxford University Press has also seen its copyright

rights, and those of its authors, systematically infringed . Students in Professor


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Blunu's "Survey of World History Since 1500" (HIST1 1 12) received electronic

copies of a 50-page excerpt of George M. Frederickson's White Supremacy : A

Comparative Study of American and South African History witho at permission

from Oxford . Students in Professor Darsey's fall 2006 course were provided

with electronic copies of the 28-page first chapter of Christopher Simpson's

Science of Coercion : Coininunicatian Research and Psychological Warfare, also

by Oxford . Such infringement has continued in recent semesters even after

Oxford approached Georgia State to complain of its unlicensed activities .

Recently, Professor Dixon provided students in the fall 2007 semester of

"African American Male/Female Relationships" (AAS4030) with the 43-page

fourth chapter of John Blassinbame's The Slave Community : Plantation Life in

the Antebellum South . In the spring 2008 semester, Professor Dixon provided

her students in AAS4030, as well as her students in AAS3000, with the fourth

and seventh chapters of Blassincame's book, a total of 78 pages for those two

excerpts alone . During the fall 2007 semester, students in three different

sections of "The Psychology of Young Children" (EPY7090) were provided with

the 39-page sixth chapter of Laura Berk's A wakening Children's Minds,

compiled with at least 1 5 other digital readings for the course . Representative




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samples of Oxford works that have been distributed digitally to students at

Georgia State without permission are identified in Exhibit 1 .

             28 . Georgia State's general copyright primer, entitled the "Regents

Guide to Understanding Copyright & Educational Fair Use" and available at

http ://www.usg.edu/legaUcopyriaht, affords "fair use" parameters - that is,

guidelines as to allowable copying without permission - that plainly exceed legal

boundaries . The same is true with respect to Georgia State's copyright policy

specifically governing the sharing of copyrighted works via the Library's

electronic course reserves system, and via Georgia State's use of digital

distribution technologies more generally, which endorses the unlicensed copying

of up to twenty percent of a work - a benchmark that would countenance

unlicensed excerpts of dozens or even hundreds of pages from a given work .

             29 . The impermissibly wide berth afforded by Georgia State to

individual takings from Plaintiffs' and other publishers' works is only

exacerbated by systematic bundling and digital distribution of numerous works

so copied into what is effectively an electronic compilation or anthology of

readings for a given course . For example, students in the course "Social and

Personality Development" (EPY8220), offered during the fall 2006 semester,

were provided with more than 80 digital reading excerpts, a compilation of



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material surpassing even the thickest coursepack or anthology . Students in the

same course during the spring 2007 semester were given 72 electronic readings,

while students in "Qualitative Research" (AL8961) received 34 . Georgia State's

Regents Guide explicitly endorses this practice of anthologizing, in direct

contravention of governing precedent .

              30 . What is more, Georgia State's policies are not enforced .

Georgia State's electronic course reserves system contains numerous examples

of works that violate even the University's own lax policies, including many of

the works identified in paragraphs 22 through 27 above .

      The Electronic Course Reser v es Functionality at Georgia State

             31 . The Georgia State University Libraries operate a central

Internet website (at http :/iwww.liUrary .gsu.edui) accessible to both Georgia State

students and the general public . This site includes a hyperlink called "Course

Reserves." Clicking this link takes the website visitor to a new web page with

prominent llyperlinks that visitors can click to "Search Reserves" or view an

"Instructors Online Submission Form ." (See sample screen shots attached at

Exhibit 2, pp . 1-2.) Clicking the "Search Reserves" link leads viewers to a web

page headlined "ERes/electronic reserves system," where visitors can search the

Library database for course reserve listings . (See Exhibit 2, p. 3 .)



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             32 . On the "ERes" pane, visitors have several options for searching

electronic reserve material . First, they can "Search for Course Reserve Pages"

by entering search text, selecting from a dropdown menu one of several database

fields within which to search (Course Nwnber, Course Name, Section Number,

Deparhlient, or Instructor), and clicking the "Search" button ; the Library

database then displa ys, on a new pa be, a list of courses that contain the entered

search terms in the specified field(s) . (See Exhibit 2, p. 4 .) The Course Number

for each entry in the search-results list is an active hyperlink ; when clicked, the

viewer is taken first to an interim copyright policy page (see Exhibit 2, p. 5),

where the user must click an "accept" button before being delivered to the

Course Reserves Page .

             33 . Course Reserves Pages (see Exhibit 3) include a list of all the

electronic reserve readings for the particular course and (if used by the professor)

hard-copy reserve materials and the location on campus where such materials are

held. Each electronic reading listed on the Course Reserves Page contains a

hyperlink; when one of these hyperlinks is clicked, Adobe Reader (a document

viewing software program) is launched and the requested work is displayed for

the user, in a new "browser window," in portable document format (pdf). The

work can be printed, saved to the user's local computer, and further redistributed


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in printed form or through electronic transmission, even to people outside

Georgia State, thereby competing with the publisher's own sales to other people

as well.

              34. When Plaintiffs first visited the Georgia State "ERes" website,

no password was required to view the Course Reserves Pages described above .

However, after Plaintiffs complained to Georgia State about its unlicensed

activities on the website, Georgia State reacted by requiring students to enter a

password on the copyright policy page before being delivered to the Course

Reserves Page, the effect of which was to stymie the publishers' ability to

continue viewing, at a course-by-course level, the massive infringement of their

own works taking place on the site . Despite this change, the system has

remained open enough for Plaintiffs to identify the ongoing and systematic

infringement identified in this complaint .

              3 5 . Students or other visitors to the Georgia State ERes website can

also search for all Course Reserves Pages offered within a given department or

taught by a given instructor (selected from dropdown menus), or by using

keywords to search for specific documents (as described above) by author or title

(see Exhibit 2, p . 3).




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              36. Upon infonnahon and belief, the electronic reserve copies that

are distributed to students in the manner described above are copied and

digitized by' either the professor, a person working under the professor's

direction, or a library staff member, and are stored on a Georgia State computer

server with the Library's knowledge and participation .

              37. In addition to the course reserves system on the Georgia State

University Library gateway, syllabi for various Georgia State courses are

publicly available on web pages within the Georgia State University domain .

Such syllabi contain reading lists with references to reading assignment materials

stored on the library's electronic course reserves Iistinbs, as described above .

Some syllabi contain active hyperlinks which students can click to directly view

and print unlicensed electronic versions of the reading materials stored on

Georgia State servers .

             38 . Upon information and belief, faculty at Georgia State also have

posted and distr ibuted electronic copies of Plaintiffs ' copyrighted course

materials on BlackboardAVebCT Vista, the University's online course

management system, which offers centralized and individualized online forums

for all Georgia State classes where students can, among CI-other activities .

download course readings, get updates on news for the course and view syllabi,



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and post electronic messages to a course bulletin board. A key feature of these

systems, as described in the tutorials available to faculty and students on the

Georgia State website, is the easy ability of instructors to "upload" electronic

files to a centralized course "content file," including a "media library" of course

content for students to view, download, and save to their own computers .

    The Longstanding Permissions Market for Paper Coursepacks and
                   Distribution of Electronic Copies

             39 . Georgia State's ability to distribute reading materials

electronically in substitution for student acquisitions of hard-copy books and

coursepacks should not be confused with permission to do so ; nor does it justify

the massive, unauthorized giveaway that is taking place at the expense of

Plaintiffs, their authors, and the publishing community at large . If allowed to

continue, Georgia State's conduct will cause the publishing industry to incur

further and substantial damages . Particularly given the presence of readily

accessible, efficient, and economical licensing mechanisms specifically designed

by the publishing community to foster innovative distribution formats (including

electronic reserves) without sacrificing a fair return to the publishers who bring

such works to the public at a substantial cost to these publishers, Georgia State's

conduct is indefensible .




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             40 . Efficient and user-friendly mechanisms for tile licensim, of

copyrighted materials for use in paper coursepacks and electronic distribution

systems have long been available . Each Plaintiff offers academic users an easy

and efficient mechanism for obtaining photocopy (i .e ., coursepack) and

electronic-use licenses directly from the publisher

             41 . In addition, Copyright Clearance Center, Inc. (CCC), a not-for-

profit corporation established in 1977 by authors, publishers, and users at the

suggestioll of Congress, provides the academic community (including professors,

faculty, librarians, and coursepack vendors) with an efficient, centralized source

for licenses for a broad and extensive repertory of millions of copyrighted works

from nearly ten-thousand publishers and hundreds of thousands of authors .

             42 . For example, through its Academic Permissions Service (APS),

CCC offers professors, library personnel and other licensees a convenient

mechanism for obtaining per-use copyright permission to photocopy, for

coursepacks and classroom handouts, content from books, journals, magazines

and other materials -including those of Plaintiffs in this action. Users can

access APS through the CCC website (or by phone, fax, or mail), establish an

account, search for requested works by title, publisher, or ISBN cumber, enter

information about the course for which permission is requested, and obtain rate



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quotes for use of a work, all with no charge . For over 1 .2 million "pre-cleared"

titles, users can obtain on-the-spot permission to include the work in a

coursepack, while other requests are forwarded to the rightsholder of record for

clearance.

             43 . CCC's Electronic Course Content Service (EGGS) offers users

an essentially identical mechanism for obtaining per-use copyright permission to

share books, journals, magazines and other materials via electronic reserves, e-

coursepacks, and other electronic forn-iats . For over 620,000 "pre-cleared" titles,

including those of Plaintiffs in this action, users can obtain on-the-spot

permission for electronic use, while other requests are forwarded to the

rightsholder of record for clearance .

             44. CCC also offers a new Annual Copyright License for

Academic Institutions which provides for the campus-wide use and reuse of

publishers' materials in hard-copy or electronic formats (coursepacks, classroom

handouts, library reserves, electronic course content, etc .), for a single annual fee

rather than on a pay-per-use basis . Plaintiff SAGE Publications has already

signed on to participate in this convenient new offering .

             4 5 . CCC has partnered with leading application vendors to

incorporate its permission services directly into the leading library-automation,



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coursepack- production, and course-management systems . As a result, librarians

can secure copyright permissions for many works directly from their own library

software applications while working within those applications (including

Docutek ERes, the system used at Georgia State), making the permission and

compliance process even easier .

              46. Despite the presence of these efficient licensing mecllanisins -

and despite Georgia State's widespread use of digital course reading distribution

methods as detailed above - electronic licensing fees actually paid by Georgia

State are minuscule .

                             CLAIMS FOR RELIEF

                                   First Claim
       Direct Copyright Infringement in Violation of 17 U .S.C. § 106
                         (Against All Defendants)

              47. Paragraphs I through 46 above are incorporated by reference as

if set forth fully herein.

              48 . By scanning, copying, displaying, and distributing Plaintiffs'

copyrighted material - including but not limited to each copyrighted work

identified on Exhibit 1 - on a widespread and continuing basis via the Georgia

State website and other Georgia State computers and servers, Defendants'

conduct constitutes infringement of Plaintiffs' copyrights and exclusive rights



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under copyright in violation of Sections 106, 501-503, and 505 of the Copyright

Act, 17 U. S .C. § § 106, 501-503, 505 .

              49 . Defendants' acts have been and continue to be willful,

intentional and purposeful, in violation of Plaintiffs' rights .

               50 . As a direct and proximate result of Defendants' infringement of

Plaintiffs' copyrights and exclusive rights under copyright, Plaintiffs are entitled

to injunctive and declaratory relief . Unless enjoined by this Court, Defendants'

conduct will continue to cause severe and irreparable farm to Plaintiffs .

              51 . Plaintiffs are entitled to recover their attorneys' fees and costs

pursuant to 17 U .S.C. § 505 .

                                 Second Claim
                      Contributory Copyright Infringement
                             (Against All Defendants)

              52 . Paragraphs 1 through 5 1 above are incorporated by reference as

if set forth fully herein.

              53 . By facilitating, encouraging, and inducing librarians and

professors to scan, copy, display, and distribute Plaintiffs' copyrighted material -

including but not limited to each copyrighted work identified on exhibit 1 - on a

widespread and continuing basis via the Georgia State University website and

other Georgia State computers and servers ; and by facilitating, encouraging, and



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inducing students to view, download, copy and further distribute that

copyrighted material, Defendants' conduct constitutes contributory infringement

of Plaintiffs' copyrights and exclusive rights under copyright in violation of

Sections 106, 501-503, and 505 of the Copyright Act, 17 U.S.C . § § 106, 501-

503,505 .

              54 . Defendants have actual and constructive knowledge that

librarians and professors will scan, copy, display and distribute, and that students

will view, download, copy and further distribute, Plaintiffs' copyrighted

material, and knowingly encourage librarians, professors, and students to do so.

              55 . Defendants' acts have been and continue to be willful,

intentional and purposeful, in violation of Plaintiffs' ribhts .

              56 . As a direct and proximate result of Defendants' infringement of

Plaintiffs' copyrights and exclusive ribhts under copyright, Plaintiffs are entitled

to injunctive and declaratory relief. Unless enjoined by this Court, Defendants'

conduct will continue to cause severe and irreparable harm to Plaintiffs .

              57. Plaintiffs are entitled to recover their attorneys' fees and costs

pursuant to 17 U .S .C . § 505 .




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                                    Third Claim
                         Vicarious Copyright Infringement
                              (Against All Defendants)

               58 . Paragraphs 1 through 57 above are incorporated by reference as

if set forth fully herein .

               59 . By allowing professors and other employees of Georgia State

University to scan, copy, display, and distribute Plaintiffs' copyrighted material

- including but not limited to each copyrighted work identified on Exhibit 1 - on

a widespread and continuing basis via the Georgia State University website and

other Georgia State computers and servers ; by facilitating, encouraging and

inducing students to view, download, copy and further distribute that

copyrighted material ; by failing to supervise or prevent such infringement when

they have the right and ability to do so ; and by profiting by such infringement,

Defendants' conduct constitutes vicarious infringement of Plaintiffs' copyrights

and exclusive rights under copyright in violation of Sections 106, 501-503, and

505 of the Copyright Act, 17 U .S .C . § § 106, 501-503, 505 .

              60 . Defendants' acts have been and continue to be willful,

intentional and purposeful, in violation of Plaintiffs' rights.

               61 . As a direct and proximate result of Defendants' infringement of

Plaintiffs' copyrights and exclusive rights under copyright . Plaintiffs are entitled



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  to injunctive and declaratory relief. Unless enjoined by this Court, Defendants'

  conduct will continue to cause severe and irreparable harm to Plaintiffs .

               62 . Plaintiffs are entitled to recover their attorneys' fees and costs

  pursuant to 17 U .S.C. § 505 .

             WHEREFORE , Plaintiffs pray :

             1 . That this Court enter an order pursuant to 17 U .S.C . § 502 and

28 U.S.C. § 2201 declaring that Defendants' actions as complained of herein

constitute copyright infringement, and granting permanent injunctive relief

enjoining Defendants or any individuals in their employ or control . now or in the

future, without seeking the appropriate authorization from Plaintiffs, from copying,

displaying or distributing electronic copies of any of Plaintiffs' copyrighted works

to Georgia State students or anyone else, or from facilitating or encouraging others

to do so, in the manner described above - namely . via the collection and assembly

of course reading materials for offer to students through an e-reserves system, a

course management system, a course web page, or any similar electronic

distribution method ;

             2. That this Court award Plaintiffs the costs of this action and

reasonable attorneys fees' and expenses pursuant to 17 U .S.C. § 505 ; and




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              3 . That this Court grant such other and further relief as it deems

just and proper .




       Respectfully submitted, this 1 5th day of April, 2008 .




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